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                          UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MICHIGAN
                                  FLINT DIVISION

 LINN ALEXANDER,

        Plaintiff,
                                                        Case No. 4:22-cv-12030-GCS-DRG
 v.

 J.P. MORGAN CHASE BANK, N.A.,

        Defendant.

                                 NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff, LINN ALEXANDER and Defendant, J.P.

MORGAN CHASE BANK, N.A., hereby notify the Court the parties have reached a settlement,

and are in the process of completing the settlement agreement and filing dismissal papers. The

parties anticipate filing dismissal papers within 30 days.

 DATED: January 20, 2023                             Respectfully submitted,

                                                     LINN ALEXANDER

                                                     By: /s/ Mohammed O. Badwan
                                                     Mohammed O. Badwan
                                                     SULAIMAN LAW GROUP, LTD.
                                                     2500 South Highland Avenue
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                                                     Counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 20, 2022, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. Parties may access this filing through the Court’s system.

                                                   /s/ Mohammed O. Badwan




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